
In re Ford Motor Co.; — Defendant; Applying for Writ of Certiorari and/or Review, Parish of Union, 3rd Judicial District Court Div. B, No. 30,152; to the Court of Appeal, Second Circuit, No. 32,275-CA.
Granted. Although the court of appeal correctly found the district court erred in excluding Randy Rainwater’s statement, the court of appeal erred in conducting a de novo review of the record in this case, where a view of the witnesses is essential to a fair resolution of conflicting evidence. See Jones v. Black, 95-2530 (La.6/28/96), 676 So.2d 1067; Ragas v. Argonaut Southwest Ins. Co., 388 So.2d 707 (La.1980). Accordingly, the judgment of the court of appeal on rehearing is vacated, and the case is remanded to the district court for a new trial, at which time the statement of Mr. Rainwater should be admitted.
KNOLL, J., not on panel.
